

People ex rel. Florio v Brann (2022 NY Slip Op 00028)





People ex rel. Florio v Brann


2022 NY Slip Op 00028


Decided on January 4, 2022


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on January 4, 2022
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

MARK C. DILLON, J.P.
ROBERT J. MILLER
LARA J. GENOVESI
DEBORAH A. DOWLING, JJ.


2021-09402

[*1]The People of the State of New York, ex rel. Dawn M. Florio, on behalf of Nathaniel Davis, petitioner, 
vCynthia Brann, etc., respondent.


Dawn M. Florio Law Firm PLLC, New York, NY (Dawn M. Florio, pro se, and Declan Murray of counsel), for petitioner.
Georgia M. Pestana, Corporation Counsel, New York, NY (Scott Shorr and Janet L. Zaleon of counsel), for respondent.
Melinda Katz, District Attorney, Kew Gardens, NY (Johnnette Traill, Nancy Fitzpatrick Talcott, Charles T. Pollack, and Joanna Matuza of counsel), nonparty pro se.
Writ of habeas corpus in the nature of an application to release Nathaniel Davis upon his own recognizance or, in the alternative, to set reasonable bail upon Queens County Indictment No. 1058/2020.



ADJUDGED that the writ is sustained, without costs or disbursements, to the extent that bail upon Queens County Indictment No. 1058/2020 is set in the sum of $2.5 million posted in the form of an insurance company bail bond, the sum of $2.5 million posted in the form of a partially secured bond, with the requirement of 10% down, or the sum of $2.5 million deposited as a cash bail alternative, on condition that, in addition to posting a bond or depositing the cash alternative set forth above, Nathaniel Davis shall (1) wear an electronic monitoring bracelet, with monitoring services to be provided by a qualified entity pursuant to CPL 510.40(4)(c), and any violations of the conditions set forth herein relating to the electronic monitoring shall be reported by the electronic monitoring service provider to the Office of the District Attorney of Queens County, and further proceedings pursuant to CPL 510.40(4)(d), if any, shall be conducted by the Supreme Court, Queens County; (2) remain confined to his residence, except for visits to his place of employment, his place of worship, his attorney, his doctors, or court, and must travel directly from his home to his place of employment, his place of worship, his attorney, his doctors, or court, and directly back to his home, when conducting those visits; (3) surrender all passports, if any, he may have to the Office of the District Attorney of Queens County, or, if he does not possess a passport, he shall provide to the Office of the District Attorney of Queens County an affidavit, in a form approved by the Office of the District Attorney of Queens County, in which he attests that he does not possess a passport, and shall not apply for any new or replacement passports; and (4) provide to the Office of the District Attorney of Queens County an affidavit, in a form approved by the Office of the District Attorney of Queens County, in which he attests that if he leaves the jurisdiction he agrees to waive the right to oppose extradition from any foreign jurisdiction; and it is further,
ORDERED that upon receipt of a copy of this decision, order and judgment together with proof that Nathaniel Davis (1) has given an insurance company bail bond in the sum of $2.5 million, has given a partially secured bond in the sum of $2.5 million, with the requirement of 10% down, or has deposited the sum of $2.5 million as a cash bail alternative; (2) has arranged for electronic monitoring with a qualified entity pursuant to CPL 510.40(4)(c); (3) has surrendered all passports, if any, he may have to the Office of the District Attorney of Queens County, or, if he does not possess a passport, has provided to the Office of the District Attorney of Queens County an affidavit, in a form approved by the Office of the District Attorney of Queens County, in which he attests that he does not possess a passport, and shall not apply for any new or replacement passports; and (4) has provided to the Office of the District Attorney of Queens County an affidavit, in a form approved by the Office of the District Attorney of Queens County, in which he attests that if he leaves the jurisdiction he agrees to waive the right to oppose extradition from any foreign jurisdiction, the Warden of the facility at which Nathaniel Davis is incarcerated, or his or her agent, is directed to immediately release Nathaniel Davis from incarceration.
DILLON, J.P., MILLER, GENOVESI and DOWLING, JJ., concur.
ENTER:
Maria T. Fasulo
Clerk of the Court








